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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                  CASE NO.: 1:05cr36-SPM

ALEX CHRISTOPHER LYONS,

           Defendant.
_______________________________/

                     ORDER CONTINUING SENTENCING

      For good cause shown, Defendant Lyons’ unopposed Motion to Continue

Sentencing (doc. 145) is granted. The sentencing hearing is reset for 1:30 p.m.

on December 11, 2006.

      DONE AND ORDERED this 27th day of September, 2006.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
